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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   MCALLEN DIVISION

 DOMINGO CARMONA,                             §
                                              §
         Plaintiff,                           §
                                              §
 v.                                           §              CIVIL ACTION NO. 7:22-cv-33
                                              §
 LAKEVIEW LOAN SERVICING,                     §
 LLC, AND SUBSTITUTE TRUSTEE                  §
 DAVID KARLE,                                 §

       Defendants.
______________________________________________________________________________

                            NOTICE OF CHANGE OF ATTORNEY



       COMES NOW, S. David Smith, counsel for Defendants Lakeview Loan Servicing LLC in

the above-styled and captioned case and advises the Court he will be leaving his current position

and will no longer be representing Lakeview Loan Servicing LLC in this litigation. Mr. Smith

requests that all correspondence, documents, pleadings, and notices continue to be directed to

Melissa Gutierrez Alonso at Bradley Arant Boult Cummings LLP, 600 Travis Street, Suite 4800,

Houston, Texas 77002. No further notices are to be sent to Mr. Smith as he is no longer attorney

of record in this case.




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                                        Respectfully submitted,




                                        By: /s/Melissa Gutierrez Alonso
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                                CERTIFICATE OF SERVICE


       I certify that on this 8th day of April, 2022, I electronically filed the foregoing with the
Clerk of Court by using the CM/ECF system. I further certify that a true and correct copy of the
foregoing has been served on all counsel of record as follows:

                         Via email: juanangelguerra1983@gmail.com
                                       Juan Angel Guerra
                          LAW OFFICE OF JUAN ANGEL GUERRA
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                                      Attorney for Plaintiff

                                                     /s/ Melissa Gutierrez Alonso
                                                     Melissa Gutierrez Alonso




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